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STUDIO MOVIE GRILL HOLDINGS, LLC

Entered 10/23/20 21:11:17

IN THE UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF TEXAS

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DALLAS DIVISION
IN RE: § CASE NO. 20-32633-SGJ-11
§
STUDIO MOVIE GRILL HOLDINGS, LLC, § Chapter 11
et al,,' §
DEBTOR. § Joint Administration Requested

 

DECLARATION OF WILLIAM SNYDER, CRO OF THE DEBTORS,
IN SUPPORT OF CHAPTER 11 PETITION AND FIRST DAY MOTIONS

 

The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Studio Movie Grill Holdings, LLC (6546) (“SMG Holdings”); OHAM Holdings, LLC (0966); Movie
Grill Concepts Trademark Holdings, LLC 3096); Movie Grill Concepts I, Ltd. (6645); Movie Grill Concepts III, Ltd.
(2793); Movie Grill Concepts IV, Ltd. (1454); Movie Grill Concepts Dx, LLC (3736); Movie Grill Concepts VI, Ltd.
(6895); Movie Grill Concepts VH, LLC (2291), Movie Grill Concepts X, LLC (6906); Movie Grill Concepts XI, LLC
(2837); Movie Grill Concepts XII, LLC (6040); Movie Guill Concepts XIII, LLC (5299); Movie Guill Concepts XIV,
LLC (4709); Movie Grill Concepts XIX, LLC (9646); Movie Grill Concepts XL, LLC (4454); Movie Grill Concepts
XLI, LLC (4624); Movie Grill Concepts XLII, LLC (2309); Movie Grill Concepts XLIII, LLC (9721); Movie Grill
Concepts XLIV, LLC (8783); Movie Grill Concepts XLV, LLC (2570); Movie Grill Concepts XV, LLC (4939); Movie
Guill Concepts XVI, LLC (1033), Movie Grill Concepts XVII, LLC (1733); Movie Grill Concepts XVIII, LLC (8322);
Movie Guill Concepts XX, LLC (7300); Movie Grill Concepts XXI, LLC (1508); Movie Grill Concepts XXII, LLC
(6748); Movie Grill Concepts XXIV, LLC (5114); Movie Grill Concepts XXTX, LLC (5857); Movie Grill Concepts
XXV, LLC (4985); Movie Guill Concepts XX VI, LLC (5233); Movie Grill Concepts XXVI, LLC (4427); Movie Guill
Concepts XXVIII, LLC (1554); Movie Grill Concepts XXX, LLC (1431); Movie Grill Concepts XXXI, LLC (223);
Movie Grill Concepts XXXII, LLC (0196); Movie Grill Concepts XXXTII, LLC (1505); Movie Grill Concepts
XXXIV, LLC (9770); Movie Grill Concepts XXXTX, LLC (3605); Movie Grill Concepts X2XXV, LLC (0571); Movie
Gull Concepts XXXVI, LLC (6927); Movie Grill Concepts XX XVII, LLC (6401); Movie Grill Concepts XXX VIII,
LLC (9657), Movie Grill Concepts XCXTII, LLC (7893); Studio Club, LLC (3023); Studio Club IV, LLC (9440); Movie
Guill Concepts XI, LLC (2837); Movie Grill Concepts XLI, LLC (4624); Movie Grill Concepts XLVI, LLC (2344);
Movie Grill Concepts XLVI, LLC (5866); Movie Grill Concepts XLVIII, LLC (8601); Movie Grill Concepts XLEX,
LLC (0537); Movie Grill Concepts L, LLC (5940); Movie Grill Concepts LI, LLC (7754); Movie Grill Concepts LIZ,
LLC (8624); Movie Grill Concepts LIII, LLC (3066); Movie Grill Concepts LIV, LLC (2018); Movie Guill Concepts
LV, LLC (4699); Movie Guill Partners 3, LLC (4200); Movie Grill Partners 4, LLC (1363); Movie Grill Partners 6,
LLC (3334); and MGC Management I, LLC 224).

 

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I, William Snyder, submit this declaration pursuant to 28 U.S.C. § 1746 (“Declaration”) in
support of the Chapter 11 Petitions and First Day Motions for Studio Movie Grill Holdings, LLC
(SMG Holdings”) and its debtor affiliates (collectively, the “Debtors” or “SMG”), and state as
follows:

1. lam the proposed Chief Restructuring Officer (the “CRO”) of the Debtors. lam a
partner of CR3 Partners, LLC (“CR3”). I have nearly 40 years of executive and entrepreneurial
experience and I have guided a multitude of companies through management and restructuring
events, in a wide range of industries. Some of my representative experience includes, without
limitation: (1) acting as CRO of the Texas Rangers Baseball team; (ii) acting as CRO of the multi-
billion-dollar poultry company Pilgrim’s Pride; (iti) acting as the court-appointed Examiner of
Mirant, a multi-billion-dollar merchant energy company; and (tv) acting as Interim-CEO of a multi-
million-dollar mattress retailer.

2. I graduated cum /ande with a Bachelor of Science from Texas A&M University. | am a
Certified Turnaround Professional and J am a Fellow with the American College of Bankruptcy.

3. CR3 and I first became involved with SMG in early September 2020. In the course of
out engagement thus far, SMG has provided CR3 and I with access to their operational and financial
information.

4. SMG was founded by Brian Schultz in 1993. Mr. Schultz has been the CEO of SMG
from its inception. In that nearly three (3) decades, SMG has grown from a single screen to more
than 300 screens today.

5. On October 23, 2020 (the “Petition Date’), the Debtors filed for bankruptcy under
Chapter 11 of Title 11 of the United States Code (“Bankruptcy Code”) in this Court (“Chapter 11

Cases”).

 

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3. Under my direction as CRO, SMG intends to operate its business and manage its
assets as a debtor-in-possession as defined under the Bankruptcy Code.

4, To minimize the adverse effects of the Chapter 11 Cases, SMG has prepared and
filed, with the assistance of its bankruptcy counsel, motions and applications discussed in this
Declaration seeking “first day” relief (collectively, “First Day Motions”). Through the First Day
Motions, SMG seeks authority from the Court to allow it to continue to do certain things, such as
use its existing bank accounts and maintain insurance policy coverage by paying premiums, that are

necessary to ongoing operations and to enable SMG to fulfill its duties as a debtor-in-possession.

5. Iam familiar with the contents of the First Day Motions and what pleadings are
typically filed at the onset of a bankruptcy case such as this. To the best of my knowledge after
reasonable inquiry, I believe that the relief sought in each First Day Motion: (1) is necessary to enable
SMG to transition smoothly into Chapter 11 with minimal disruption; (ii) is critical to SMG’s efforts
to preserve its value and maximize creditor and stakeholder recoveries; and (iti) best serves SMG’s
estate and the interests of its employees, creditors and stakeholders. Further, it is my belief that the
relief sought in the First Day Motions is tailored and necessary to achieve the goals of the Chapter
11 Cases.

6. Except as otherwise indicated, the facts set forth in this Declaration are based upon
(1) representations by executives or employees of SMG to CR3 and I; and (11) review of relevant SMG
business records and other information by myself of other CR3 employees under my direction and
control, Unless otherwise indicated, the financial information contained in this Declaration 1s
unaudited and, due to the exigent circumstances facing SMG and the urgent need to file these Chapter
11 Cases, certain of the information contained in this Declaration is subject to change.

Notwithstanding, I am not aware of any information contained in this Declaration that 1s inaccurate.

 

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7. I submit this Declaration in support of SMG’s (i) Chapter 11 Petitions; and (ii) the
First Day Motions. I have become personally knowledgeable about, and familiar with, the business
and financial affairs of SMG and am authorized by SMG to submit this Declaration on its behalf. If
called upon to testify, I would testify that the facts set forth in this Declaration are true and cortect.

INTRODUCTORY STATEMENT

8. SMG is engaged in the dine-in movie theater business. In addition to its movie
offerings, SMG’s theaters include a bar and lounge area, with direct to seat service for guests before
and during their movies.

9. Specifically, SMG operates 33 movies theaters in 10 states, including Arizona,
California, Florida, Georgia, Illinois, Indiana, North Carolina, Pennsylvania, Texas, and Virginia. All
theaters operate under the brand name “Studio Movie Grill.”

10. SMG was conceived in 1993 to modernize the traditional movie-going experience
through its combination of first-run movies, alternate, and family programming together with full-
service, in theater dining from an extensive American grill menu and full-service bar. SMG strives for
an immersive movie-going experience with its custom luxury recliners, laser projection, studio
extreme large format auditoriums, and advanced sound system. Service buttons are located at every
seat, enabling servers to know instantly when guests need to place an order or request assistance.
Servers then deliver food and drinks to guests’ seats anytime during the show.

11. In 2018, SMG was the fastest growing company-owned theater chain and had built
the largest hospitality-centric platform in the exhibition industry. Under the leadership of its founder
and Chief Executive Officer, Brian Schultz, SMG swiftly grew from a single location to 353 screens
across 10 states, was named to Inc. Magazine’s List of “Fastest Growing Private Companies” three
yeats in a row, placed 11th in Box Office Magazine’s Giants of the Industry and, in 2019, 50 films

put SMG in the Top 10 at the Box Office with key titles grossing as high as #5 in box office receipts.

 

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12. In June 2018, SMG introduced its unique loyalty program, SMG Access, which allows
loyal guests to earn rewards, allows them to join SMG in offering movies and meals to underserved
community members. T'o date, this program has earned over 40,000 movies and meals. Prior to the
rapid national spread of the novel coronavirus commonly known as COVID-19, SMG had an over
twenty-five (25) years of year-to-year growth.

13. The organizational structure of SMG is diagramed in the attached organizational
chart. See Exhibit “A”.

14. Since mid-March 2020, COVID-19 has resulted in significant adverse business effects
on SMG, its operations, and the entire movie industry. Through its Chapter 11 Cases, SMG is but
the next in a line of movie theater chains and other in-person entertainment businesses seeking
bankruptcy relief.

15, During the pandemic, state and local government order, alongside drastic decreases
in immediate demand, resulted in the shuttering of the entire SMG operation for a period of 3
months. Beginning on March 19, 2020, SMG started reopening theaters at limited capacity. At
present, 21 theaters are open at a limited capacity and 13 theaters remain closed.

16. It remains unknown how long the COVID-19 pandemic will persist and how long
the market effects will continue thereafter. SMG anticipates that demand for its services will remain
very tenuous until theaters are able to return to full capacity and major motion pictures resume being
released for first-run theater showings.

17, SMG has made, and continues to make, necessary adjustments to its operations in
light of the resulting declines in revenue. SMG has sought to reduce operating expenses, lease
expenses, and sought a variety of creative solutions to provide interim cash flow, including offering

private theater rentals to the public. SMG files these Chapter 11 Cases as part of its ongoing efforts,

 

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in order to preserve the value of its assets for the benefit of all stakeholders, including employees,
creditors, and equity.

18. As is customaty in the industry, SMG pays film studios a set percentage of box office
sales on a weekly basis pursuant to master licensing agreement (the “MLAJs]”), in addition to other
negotiated terms for particular films issued by each studio.

19. Through the Chapter 11 process, SMG seeks to (4) further deduce the profitability of
each theater; and (41) renegotiate lease with landlord and the MLAs with film studios. SMG seeks to
use these mechanisms, in conjunction with a restructuring of other debt, to overcome this temporary
downturn in the fil industry and maximize future profitability. These Chapter 11 Cases will enable
SMG to perform this restructuring while protecting its employees. I anticipate that SMG will exit
bankruptcy in better form and continue to provide a superb movie-going experience to its customers.

20, SMG enters these Chapter 11 Cases with certain financial support of existing lenders
who has agreed to provide emergency debtor-in-possession financing to satisfy its continuing
obligations during the bankruptcy proceedings.

i. In an effort to inform the Court on the business of SMG and the relief sought in its
First Day Motions, this Declaration 1s offered. The Declaration has been organized into four sections,
entitled as follows:

Section I: The Corporate Structure and Employee Operations
Section II: SMG’s Assets, Liabilities, and Financial Condition
Section III: Events Leading to Bankruptcy

Section IV: First Day Relief Sought

I.
THE CORPORATE STRUCTURE AND EMPLOYEE OPERATIONS

THE CORPORATE STRUCTURE

 

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22. In summation of the organizational chart provided as Exhibit “A”, the SMG
corporate structure can be described as follows:

23. OHAM Holdings is a Texas limited liability company, whose last four (4) digits of
its federal tax identification number are 0966. The membership equity of OHAM Holdings is owned

as of the Petition Date as follows:

Brian Schultz 17.5%
Vireinia Schultz 1.0%
Theodore Croft 1.0%

SMG Team ity Holdi LLC 7.0%
TSO SMG Warrant Investment : 13.185%
Michael Lambert Trust 0.315%

 

24. SMG Holdings is a Texas limited lability company, whose last four (4) digits of its
federal tax identification number are 6546. The membership equity of SMG Holdings is owned in
totality (100%) by OHAM Holdings.

25, All other Debtors are owned 1n totality either directly or indirectly by SMG Holdings.
All non-debtor affiliates are also owned in totality either directly or indirectly by SMG Holdings.

26. Accordingly, Brian Schultz and TSO SMG Warrant Investment Aggregator are the
only persons that directly or indirectly own 10% or more of any class of OHAM Holdings’ equity
interests. As detailed above, OHAM Holdings owns 10% or more of SMG Holdings’ equity interests
and SMG Holdings owns 10% or mote of all the other Debtor’s equity interests.

EMPLOYEE OPERATIONS

27. SMG 1s engaged in the dine-in movie theater business. In addition to its movie
offerings, SMG’s theaters include a bar and lounge area, with direct to seat service for guests before
and during their movies. In the course of these operations, SMG employs at each location servers,
bartenders, ticket host, runners, line cooks, cleaning crew, dishwashers, and managers thereover. SMG

also employs an ordinary variety of corporate office staff to handle the shared services necessaty to

 

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operate the locations. As of October 23, 2020, the Debtors employed approximately 9222 individuals,
including 800 individuals at Debtors’ movie theater locations, 82 individuals operating in the field, and
40 individuals at the corporate office (collectively the “Employees”).

28, Prior to the Petition Date, founder Brian Schultz was the Chief Executive Officer for

29. The large majority of the Debtors’ employees are paid hourly on a bi-weekly pay
petiod. The Debtors currently have 6 independent contractors working for them pursuant to
consulting agreements. Wages accrue for Employee over a two-week pay period, with remittal of such
wage obligations coming one week following the end of the pay period. The Debtors’ use two
alternating pay cycles with wage obligations for each having been paid out one week after each date.
The Debtors pay their independent contractors for the services on a pay period that runs for one week
ptior to the date compensation is paid.

30. The Debtors maintain two bonus incentive programs, one for general managers, unit
managers, and kitchen managers at the Debtors’ movie theater locations (the “Field Management
Bonus Plan’) and a second for corporate office Employees. The Field Management Bonus Plan is an
annual bonus structure based on performance measured against specified key financial and operational
metrics during the year. The Field Management Bonus Plan creates a bonus pool at each location,
which is then split on a percentage basis amongst that locations managers. The corporate bonuses are
historically based on business-wide performance and are paid as a function of percentage of annual
wages. Theses bonuses are tied to employment agreements which include restrictive covenants,
including confidentiality provisions, that protect the Debtors’ business.

31. In addition, the Debtors maintain and offer various employee benefit plans, policies,
and programs for health care, health savings, dental, vision, life, long and short-term disability, and

critical illness, and provide eligible Employees access to a 401(k) plan.

 

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II.
SMG’s ASSETS, LIABILITIES, AND FINANCIAL CONDITION

SECURED AND UNSECURED LIABILITIES

32. SMG estimates that secured claim as of the Petition Date in respect of its pre-petition
secured credit facility in an approximate amount of at least $104,123,984.28 for unpaid principal, plus
any and all interest, fees, costs, expenses, charges, and other claims, debts, or obligations of the
Debtors to the agent and lenders under the pre-petition secured credit facility.

33. SMG’s unsecured obligations consist of, among other things, payments still due under
leases that have not been terminated, payments due to film studios in licensing fees, and taxes that
acctued before the Petition Dates but were not paid. As of the Petition Dates, SMG estimates that its
collective outstanding unsecured obligations totaled approximately $231.1 million (“Estimated
Unsecured Claim Amount”), which includes loans from TSO SMG Note Investment Aggregator
L.P. in the approximate amount of $82.0 million.

III.
EVENTS LEADING UP TO THE CHAPTER 11 CASES

BEFORE COVID-19

34. Prior to the onset of the novel coronavirus pandemic known as COVID-19, SMG was
a viable business enterprise, managing its operational costs and working on the development of

additional movie theater locations.

THE EFFECT OF COVID-19 ON THE MOVIE THEATER INDUSTRY AND SMG

35. As a result of the national pandemic, state and local governments imposed restrictions
on the social, dining, and theater operations regular and necessary to the SMG business. Following the
Center for Disease Control COVID-19 guidelines and in compliance with the localized restrictions,
SMG shut down all of its theaters for a period of 3 months beginning on March 20, 2020.

36. During the shutdown, SMG sought out creative ways to attempt to generate revenue,

 

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including an attempt to provide carry-out dining services.

37. Fortunately, beginning on June 19, 2020, SMG, again operating in accordance with CDC
guidelines and lifted restrictions, began reopening locations with limited capacity. Currently, SMG has
21 locations that are operational in this capacity. That being said, demand and supply of films remains
limited. Again, SMG has sought creative ways to generate additional revenue within the confines of the
CDC guidelines, including open sales to individuals and group to rent out an entire auditortum for a
screening or special event.

38. With still-diminished revenues, SMG has sought to manage its costs, including
renegotiating certain of its location leases prior to the Petition Date to obtain more workable terms.
Nevertheless, SMG’s cash assets have dwindled. As of the Petition Date, SMG had current cash assets
of approximately $100,000 in its bank accounts, not including drawer cash in its theaters.

39. Fixed and operational expenses have continued to accrue and because of SMG’s lack of
liquidity, it has been forced to accumulate certain prepetition obligations.

IV.
FIRST DAY MOTIONS AND APPLICATIONS

40. Contemporaneously with the filing of this Declaration, SMG has filed or intends to file
a number of essential First Day Motions, seeking emergency orders from the Court for various telief
targeted at (1) facilitating an efficient transition into the Chapter 11 Cases; (11) minimizing the operational
impact of the Chapter 11 Cases; (iii) streamlining the administration of the Chapter 11 Cases; and (1v)
taking the initial steps towards a successful reorganization of SMG.

41. I have reviewed the First Day Motions and confirm that the facts set forth therein are
true and correct to the best of my knowledge, review of information, and belief. I believe that this
Court’s approval of the relief requested in the First Day Motions is essential to avoid immediate and
irreparable harm to SMG.

A. Joint Administration Motion

 

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42. Pursuant to their Evergency Motion for Entry of Order Authorizing Joint Administration of
Chapter 11 Cases Pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure (the “Joint
Administration Motion”), SMG requests that all of the Chapter 11 Cases be jointly administered under
the Studio Movie Grill Holdings, LLC case number. I believe joint administration will reduce
unnecessary duplication of efforts by the Debtors, creditors, U.S. Trustee, and the other patties-in-
interest. Such relief is common to complex Chapter 11 proceedings and a business enterprise the size
and makeup of SMG.

B. Case Procedures Motion

43, Pursuant to their Ezergency Motion for Entry of an Order (I) Authorizing the Debtors to File a
Consolidated List of Top 30 Unsecured Creditors and a Consolidated Last of Creditors; (IL) Authorizing the Debtors
to Redact Certain Personal Identification Information of Individual Creditors and Current and Former Employees; and
(ILD Approving the Proof of Claim Form (the “Case Procedures Motion”), the Debtors have sought (i)
authority to file a consolidated list of the top 30 unsecured creditors and a consolidated list of creditors;
(i) authority to redact certain personal identification information of individual creditors and current
and former employees; and (iit) approval of a customized proof of claim form.

44, I believe that filing only one consolidated list of the thirty largest general unsecured
creditors will alleviate administrative burdens, costs, and minimize the possibility of duplicative
setvice. Such cost savings will benefit the Debtors’ estates and all constituents involved. Redaction of
personal identification information will serve the clear purpose of protecting individuals caught up in
these proceedings to unnecessary, and will minimize any potential legal exposure to SMG resulting
therefrom. Approval of customized proof of claim form will also improve the process for all those
involved, helping to streamline the claims process. All such relief is common to complex Chapter 11

proceedings and a business enterprise the size and makeup of SMG.

 

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C. Bank Account and Cash Management Motion

60. Pursuant to their Emergency Motion Pursuant to Sections 105, 345, 364, 363, 503, 1107 and
1108, Authorizing (i) Maintenance of Existing Bank Accounts; (ti) Continuance of Existing Cash Management
System, Bank Accounts and Checks and Related Forms; (iti) Continued Performance of Intercompany Transactions;
(iv) Limited Waiver of Section 345(b) Deposit and Investment Requirements; and (v) Granting Related Rehef (the
“Bank Account and Cash Management Motion”), the Debtor sought court approval to maintain and
continue the use of their bank accounts and existing cash management system.

61. Prior to the Petition Date, in the ordinary course of its business, SMG used its Cash
Management System to efficiently collect, transfer and disburse funds generated by its business
operations. The Cash Management System consists of forty-seven (47) accounts that are booked at
Capital One, seven (7) accounts that are booked at JP Morgan Chase and one (1) that is booked at
Regions.

62. I believe that SMG’s continued use of the bank accounts with the same account
numbers and same checks is necessary for a smooth and orderly transition into Chapter 11, with
minimal interference with continuing operations. Requiring SMG to open new bank accounts and
obtain new checks for those accounts will cause delay and disruption to its business. SMG believes
that its transition to Chapter 11 will be more orderly and result in a minimum of harm to operations
if all of the bank accounts are maintained.

63. By preserving business continuity and avoiding the disruption and delay that would
result from closing the bank accounts and opening new accounts, all parties in interest, including
employees and vendors, will be best served. The benefit to SMG, its business operations and all parties

in interest will be considerable, while the confusion that would result if the Court did not grant the

telief would adversely impact SMG’s rehabilitative efforts. The bank accounts are in a financially stable

 

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institution that is insured by the Federal Deposit Insurance Corporation up to the applicable limit.
Moreover, | and SMG will work with its financial institutions to ensure that no obligations that accrued
before the Debtors filed for Chapter 11 are paid from any of the bank accounts unless authorized by
the Coutt.

64. In addition, I believe that SMG’s Cash Management System constitutes an ordinary
coutse, essential business practice that provides significant benefits to SMG including, among other
things, the ability to (@) control funds; (11) ensure the availability of funds when necessary; and (itt) reduce
costs and administrative expenses by facilitating the movement of funds and the development of more
tumely and accurate account balance information.

65, I believe that any disruption of the Cash Management System would have a severe
and adverse impact on SMG’s reorganization efforts. The relief requested in the Cash Management
Motion ts vital to ensuring SMG’s seamless transition into bankruptcy. I believe that authorizing SMG
to maintain the Cash Management System will avoid many of the possible disruptions and distractions
that could divert SMG’s attention from mote pressing matters during the initial days and weeks of the
Chapter 11 Cases.

66. In addition, SMG seeks a permitted deviation from the U.S. Trustee Guidelines
(“Trustee Guidelines”) to the extent that the requirements of any guidelines otherwise conflict with
(i) SMG continuing to use its existing bank accounts and the existing practices under the Cash
Management System; or (ii) any action taken by SMG in accordance with any order granting the Bank
Account and Cash Management Motion or other order entered in the Chapter 11 Cases. I believe the
use of the Cash Management System is an ordinary course, customary and essential business practice.
Requiting SMG to alter its current practices to comply with the Trustee Guidelines would tisk

disruption to SMG’s business at this precarious time and be inefficient.

 

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67. I believe that the relief requested in the Cash Management Motion is in the best
interests of the Debtors’ estates, their creditors and all other patties in interest, and will enable SMG

to continue to operate its business without interruption during the Chapter 11 proceedings.

D. Tax Motion
68. Pursuant to ther Ewergency Motion for Entry of an Order (1) Authorizing Debtors to Pay

Certain Prepetition Taxes and Assessments; (II) to Assume Prepetition Tax Agreements; and (II) Authorizing
Financial Institutions to Honor and Process Related Checks and Transfers Pursuant to Sections 105(a), 363 (b),
365, 507(a)(8) and 541(d) of the Bankruptcy Code (the “Tax Motion”), SMG tequests approval to pay, in
its sole discretion, certain sales, property and other taxes and similar obligations, as detailed in the
Tax Motion, in the ordinary course of SMG’s business, without regard to whether such obligations
accrued or arose before or after the Petition Date.

69. In the ordinary course of operating its business, SMG collects and remits a variety of
taxes and fees, including sales and use taxes (collectively, “Taxes and Fees”). The Taxes and Fees
include certain “trust fund” taxes, which SMG is required to collect from its customers and hold in
trust for payment to various federal, state and local tax, licensing and other governmental authorities
(collectively, “Authorities”). SMG remits the Taxes and Fees to the Authorities on a periodic basis.

70. As of the Petition Date, SMG estimates that it owes Authorities an amount equal to
approximately $3,560,386 in pre-petition Taxes and Fees as detailed in the Tax Motion. Through the
Tax Motion, SMG seeks only the authorization to pay the Authorities the Taxes and Fees when they
become due in the ordinary course and subject, in certain instances, to the receipt of monies from
third parties.

71. It is my understanding that SMG’s failure to pay the Taxes and Fees could adversely
affect its business operations because Authorities could assert penalties or interest on past-due taxes,

or possibly bring personal liability actions against officers of SMG for non-payment. This would be

 

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to the severe detriment of SMG’s reorganization efforts because those officers are integral to driving
SMG’s reorganization and its success. In addition, I understand that SMG will need to pay the Taxes
and Fees under any plan of reorganization that is filed and confirmed by the Court.

E. Utilities Motion

72. Pursuant to their Emergency Motion Interim and Final Order Providing Adequate Assurance
of Utility Payments (the “Utilities Motion”), the Debtors seek an order from this Court relating to the
continued maintenance of services from Utility Providers (as defined in the Utilities Motion). This
includes an order prohibiting the Utility Providers from, among other things, changing, discontinuing
or refusing to provide SMG with key services (such as electricity and water) because SMG was not
able to pay their bills prior to the Petition Dates.

73. In connection with the operation of the movie theaters, SMG needs electric, gas,
waste/sewer, telecommunications, and other services on a daily basis. SMG depends upon
uninterrupted services in order to continue operations and it is critical that utility services remain
uninterrupted in order to ensure the success of SMG’s Chapter 11 Cases. I believe that interrupted
or even modified services will jeopardize the reorganization efforts.

74. SMG intends to fully pay all obligations that accrue and ate owed to the Utility
Providers in a timely manner. SMG expects to have sufficient cash during the Chapter 11 proceeding
to pay for these utility obligations.

75. However, out of an abundance of caution, SMG proposes to provide a deposit to
any Utility Provider who requests one in writing. This Adequate Assurance Deposit (which 1s defined
in the Utility Motion) would be equal to two weeks of services based on a historical average over the
past year. I believe that the Adequate Assurance Deposit, combined with SMG’s prior history of
payment of utility bills and availability of cash during the Chapter 11 proceedings, will provide

sufficient assurance to the Utility Providers.

 

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F. Insurance Motion

76. Pursuant to their Emergency Motion for Authorization to (1) Continue to Administer All
Insurance Policies and Related Agreements; and (IL) Honor Certain Obligations in Respect Thereof (the “Insurance
Motion”), the Debtors request approval from this Court to continue maintaining Insurance Policies
(defined in the Insurance Motion) that are necessary to continuation of its business operations. This
includes paying premiums that will come due during the pendency of the Chapter 11 Cases.
Specifically, SMG maintains Insurance Policies that provide coverage for, among other things, SMG’s
property (including all of the theaters and SMG’s offices in Dallas, Texas), general lability and
workers compensation. While the specific amount of each Insurance Policy varies year-by-year, on
average, the total amount of premiums that SMG pays for the Insurance Policies is approximately
$1,883391.90.

77. It is essential for SMG to maintain its Insurance Policies, which provide a
comprehensive range of coverage for SMG and its business. If these Insurance Policies were allowed
to lapse, SMG would be exposed to substantial liability for any damages resulting to persons or
property of SMG and others.

G. Customer Programs Motion

78. Pursuant to their Emergency Motion for Order Authorizing Post-Petition Redemption and
Honor of Pre-Petition (1) Gift Cards; (I) Customer Loyalty Program; (IIL) Membership Program; (IV) Groupon
Sales; (V) Gold Ticket Coupons; and (V1) Advanced Ticket Sales (the “Customer Programs Motion”), the
Debtors seek authority to continue to honor the redemption of existing gift cards, advanced sales,
and other customer loyalty programs. The reputation of SMG with its customers is contingent upon
its ability to honor these existing programs, for which customers have already paid into. | believe
continuing these programs is in the best interest of the estates as it will aid in generating revenue, and

likewise, interruption thereof would likely result in both short and long term revenue losses.

 

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H. Employment Motions

79. Pursuant to several other First Day Motions, the Debtors seek court approval to
retain the professionals necessary and beneficial to the successful conduct of the Chapter 11 Case
and also professionals employed in the ordinary course of their business that are not associated with
the bankruptcy proceedings. In totality and based on my personal experience in the industry, I believe
that the number of professionals and the scope of their retention is reasonable under the
circumstances and in light of SMG’s size as a business enterprise. Further, I believe that the retention
of these firms and entities will aid in an efficient reorganization and will enable to Debtors to preserve
value and maximize their bankruptcy estates.

I. DIP Motion

80. Pursuant to the Debtors’ Emergency Motion for Entry of Interim and Final Orders Pursuant
fo 117 U.S.C. §§ 105, 361, 362, 363, and 364 (1) Authorizing Debtors to (A) Use Cash Collateral on a Limited
Basis and (B) Obtain Postpetition Financing on a Secured, Superpriority Basis, (I) Granting Adequate Protection,
(ILL) Scheduling Final Hearing, and (IV) Granting Related Relief (the “DIP Motion”)’, the Debtors seek,
among other things, authorization to obtain the DIP Facility (as defined in the DIP Motion) and use
Cash Collateral (as defined in the DIP Motion). The Debtors also seek authorization to refinance a
portion of their outstanding secured indebtedness and to grant priming liens and superpriority claims
on account of the DIP Facility, in addition to providing the adequate protection set forth in the
proposed interim order attached to the DIP Motion.

81. The Debtors are filing the DIP Motion on an emergency basis given the immediate
and irreparable harm that they will potentially suffer if they are denied the ability to obtain credit and
use Cash Collateral, which is necessary to sustain the Debtors’ ongoing business operations and to

achieve their future business objectives. The DIP Facility and Cash Collateral will permit the Debtors

 

2 Capitalized terms used but not otherwise defined in this subsection I have the meanings ascribed to such terms in

the DIP Motion.

 

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to, among other things, preserve the value of their bankruptcy estates, continue operating their
business in an orderly fashion, maintain business relationships with vendors, suppliers, and
customets, meet ongoing business payroll disbursements, maintain employee morale, and satisfy
other working capital and operational needs.

82. Absent immediate access to the loans under the DIP Facility and use of Cash
Collateral, I believe the Debtors would likely have to curtail or even cease business operations to the
material detriment of creditors, employees, and other parties in interest. Accordingly, I believe it 1s
critically important that the Debtors have access to the funds made available under the DIP Facility
and authorization to use Cash Collateral at the onset of the Chapter 11 Cases. The Debtors anticipate
using the DIP Facility to fund their day-to-day operations and refinance a portion of the Prepetition
Secured Indebtedness, all to preserve value for their bankruptcy estates. This available liquidity (either
through the DIP Facility or Cash Collateral use or both) is necessary for the Debtors to demonstrate
to their customers, suppliers, vendors, and employees that they have sufficient capital to ensure
continuation of ongoing operations.

83. I believe the Debtors need immediate access to post-petition financing and use of
Cash Collateral to preserve estate assets and facilitate the Debtors’ ability to either continue their
business or implement an orderly wind-down, whichever is justified. I understand that the liens
securing the DIP Facility will prime the liens granted to secure payment under the Prepetition Credit
Agreement to the Prepetition Lenders, and will prime any other liens that might be asserted by other
creditors other than any Prior Permitted Liens (as defined in the Interim Order), if any.

84. From my perspective as CRO, I have concluded, along with the Debtors, that the
universe of lenders who could commit to meet the Debtors’ post-petition financing requirements
was quite limited for two reasons. First, the DIP Facility required both underwriting capacity and

sophisticated syndication capabilities. Second, any other lender would have had to either gain the

 

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cooperation of the Prepetition Agent and Prepetition Lenders, refinance the Prepetition Secured
Indebtedness (as such term is defined in the DIP Credit Agreement), or undertake a priming fight.
After carefully evaluating the foregoing requirements, | understand that the Debtors determined that
their efforts to arrange post-petition financing should be focused on the Prepetition Agent the
Prepetition Lenders.

85. The terms and conditions of the DIP Facility were negotiated by the parties in good
faith and at arms’ length. I believe the Debtors have reasonably exercised sound business judgment
in determining that the DIP Facility is the best financing option available under the Debtors’ present
circumstances. The purpose of the DIP Facility is to refinance the Prepetition Secured Indebtedness
and enable the Debtors to continue normal business operations during the Chapter 11 Cases.

86. I submit that the DIP Documents and the DIP Orders are the result of the Debtors’
reasonable and informed determination that the DIP Lenders offered the most favorable terms on
which to obtain critical postpetition financing and arm’s-length, good-faith negotiations between the
Debtors and the DIP Agent and DIP Lenders. I believe the terms and conditions of the DIP
Documents, including the DIP Refinancing, are reasonable and appropriate under the circumstances,
and the proceeds of the DIP Facility will be used only for purposes that are permissible under the
Bankruptcy Code.

87. For all of the foregoing reasons, I submit that authorization to obtain the DIP Facility
and use Cash Collateral is essential for the Debtors to avoid immediate and irreparable harm to their
estates.

J. Critical Vendors Motion

88. Pursuant to the Debtors’ Emergency Motion for Authority to Pay All or a Portion of the
Prepetition Claims of Certain Critical Vendors (the “Critical Vendors Motion’), the Debtors seek the

authority, but not the direction, to pay all or a portion of the prepetition outstanding amounts owed

 

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to certain critical vendor. Due to the centrality to the Debtors’ operations as a movie theater enterprise
that provide dine-in and bar services, I believe the relief sought in the Critical Vendors Motion is
critical to the Debtors’ reorganization and operational efforts. The Debtors need access to food and
liquor deliveries on the same terms as existing on the Petition Date in order to generate revenue. If
such requested relief is not granted and the critical vendors ultimately refuse to continue to provide
goods, I believe it is uncertain whether the Debtors will be able to continue operations, which will
imperil the Debtors’ reorganization, damage the estates, and diminish any returns to creditors.

89. I believe that the failure to satisfy these unsecured claims, in whole or 1n part, is likely
to result in the critical vendors refusing to provide critical goods to the Debtors during the post-
petition period. I submit that this outcome would have an immediate effect on the Debtors’ ability
to operate their business. The Debtors estimate the maximum amount needed to pay the prepetition
claims of the critical vendor counterparties is approximately $___ million, which represents only a
small percentage of the total amount of the prepetition claims in these Chapter 11 Cases. The funds

for this amount will be available under the current DIP financing budget being contemporaneously

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William Snyder, CRO
CR3 Partners, LLC, acting on behalf of
Studio Movie Grill Holdings, LLC and its Debtor A ffilates

proposed to the Court.

SUBSCRIBED AND SWORN TO BEFORE ME this the 23rd day of October, 2020.

W \OMMLE
Notary Public iA and for LL
the State of Texas

[seal]

 

 

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